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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

LULA WILLIAMS, GLORIA TURNAGE,                   :
GEORGE HENGLE, and DOWIN COFFY,                  :
                                                 :   Docket No.3:19-cv-00085-REP
        Plaintiffs,                              :
                                                 :
        v.                                       :
                                                 :
MICROBILT CORPORATION et al.,                    :
                                                 :
        Defendants.                              :

          JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AS TO
         DEFENDANTS MICROBILT CORPORATION AND PHILIP BURGESS

        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties hereby

stipulate to the dismissal of the above-styled action with prejudice. This dismissal is intended to

and includes all claims asserted against Defendants. Plaintiffs acknowledge and agree that this

Court has never made a finding of misrepresentation by either Defendant to this Court. The Parties

agree that the Court shall retain jurisdiction over the enforcement of the terms of their settlement

of this matter.

                                              Respectfully submitted,

                                              KELLY GUZZO, PLC

                                              /s/ Kristi C. Kelly
                                              Kristi Cahoon Kelly, Esq. (VSB No. 72791)
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Dated: July 27, 2022




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